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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

AMERICAN CENTER FOR LAW AND                   )
JUSTICE,                                      )
                                              )
       Plaintiff,                             )
                                              )
vs.                                           )       Case Action No. 1:16-cv-1975(TNM)
                                              )
UNITED STATES DEPARTMENT OF                   )
STATE,                                        )
                                              )
       Defendant.                             )


                     DECLARATION OF ABIGAIL A SOUTHERLAND

I, Abigail A. Southerland, declare as follows:
       1.      I am senior litigation counsel for the law firm American Center for Law and Justice

(ACLJ) and counsel for Plaintiff in connection with the above-captioned matter. I have been

involved in and am familiar with all phases of this litigation.

       2.      Plaintiff has issued more than twelve FOIA requests to State within the last two

years. See FOIA Case Control Nos. F-2016-05079; F-2016-09051; F-2016-08550; F-2016-10421;

F-2017-016650; F-2017-00205; F-2017-14187; F-2017-14533; F-2017-16415; F-2017-1881; F-

2018-01744; F-2018-00998.

       3.      On September 27, 2017, Plaintiff filed suit against State for State’s failure to

respond in a manner and within the timeframe required by FOIA to its FOIA request issued on

August 14, 2017, seeking records regarding requests former U.S. Ambassador Samantha Power

made to NSA officials or personnel regarding the unmasking of certain individuals. See Complaint,

American Center for Law and Justice v. Dep’t of State, Case No. 1:17-cv-1991 (D.D.C. September

27, 2017), ECF 1.



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          4.     With regards to its FOIA request, Plaintiff requested expedited processing – a

request subsequently denied by State. Id. at ⁋14, 17.

          5.     Plaintiff issued a substantially similar FOIA request to the National Security

Agency (NSA). Complaint, American Center for Law and Justice v. NSA, Case No. 1:17-cv-1425

(ECF 1), consolidated with ACLJ v. Dep’t of State, Case No. 1:17-cv-1991. Unlike State, the NSA

granted Plaintiff’s request for expedited processing based on substantially similar regulations

governing expedited processing. Id. at ⁋ 14, 17.

     6.        On February 19, 2018, Plaintiff filed a lawsuit against State for State’s failure to

respond in a manner and within the timeframe required by FOIA to its FOIA request issued on

October 25, 2017, seeking records concerning approval by the Committee on Foreign Investments

in the United States (CFIUS) of the sale of a controlling stake in Uranium One to Rosatom.

Complaint, American Center for Law and Justice v. Dep’t of State, Case No. 1:17-cv-0374 (D.D.C.

Feb. 19, 2018), ECF 1.

       7.        Plaintiff sent this same FOIA request to several other agencies including the

Department of Justice (DOJ), the Federal Bureau of Investigation (FBI), and the Department of

Treasury. Id., at ⁋ 17.

       8.        Plaintiff requested that each agency grant Plaintiff’s FOIA expedited processing

and every agency receiving Plaintiff’s FOIA request 1- with the exception of State – granted

expedited processing based on substantially similar regulations governing expedited processing.

Id., at ⁋⁋ 17, 22-29.




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  As indicated in the Answer, Treasury claims it never received Plaintiff’s FOIA request, thus a
decision on Plaintiff’s request for expedited processing has not yet been provided. Answer, ACLJ
v. Dep’t of State, et al., Case No. 17-cv-0372, ECF 12, at ⁋ 30.
                                                    2
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       9.       On April 9, 2018, Plaintiff filed suit against State for State’s failure to respond in a

manner and within the timeframe required by FOIA to its FOIA request issued to State on March

1, 2018, seeking information relating to reports that the Carter Center provides financial support

for Hamas and the Popular Front for the Liberation of Palestine (PFLP). Complaint, American

Center for Law and Justice v. Dep’t of State, Case No. 1:18-cv-0798 (D.D.C. April 9, 2018), ECF

1.

       10.      On April 23, 2018, Plaintiff filed suit against State for State’s failure to respond in

the manner and timeframe required by FOIA to its FOIA request issued to State on February 5,

2018, seeking records concerning the U.N.’s Relief & Works Agency (UNRWA). Complaint,

American Center for Law and Justice v. Dep’t of State, Case No. 1:18-cv-0944 (D.D.C. April 23,

2018), ECF 1.

        11.     With regard to every request issued to State – regardless of the time given to

Defendant to respond – Defendant failed to notify Plaintiff of its determination and the reasons

therefor, within 20 days or anytime thereafter until after Plaintiff filed suit.

        12.     On January 30, 2018, I contacted State and requested an estimated date for a

determination on, and production of responsive documents to, FOIA Request 2017-0205 (now

pending more 509 days). On February 7, 2018, State responded and failed to provide a

determination, an estimated date of determination and an estimated release date for responsive

documents. See Pl. Exhibit 3, attached hereto.

        13.     On April 6, 2018, I again contacted State and requested an estimated date for a

determination on and production of responsive documents to Plaintiff’s FOIA Request 2017-0205.

State again failed to provide any such estimate. Id.

        14. With regard to all twelve FOIA requests issued by Plaintiff, Defendant did not inform


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Plaintiff of any unusual circumstances requiring an extension of the 20-day time period during that

time period or anytime thereafter leading up to the filing of the lawsuit.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.

Executed on May 29, 2018.


                                      /s/ Abigail Southerland
                                      Abigail A. Southerland
                                      Counsel for Plaintiff




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